Case 2:03-cr-20094-.]PI\/| Document 114 Filed 06/16/05 Page 1 of 2 Page|D 153

.'_"*{ _ _ __ ______ D.C.
iN THE uNlTED sTATEs DlsTRicT couRT F“»ED 3 -

FOR THE WESTERN DlSTR|CT OF TENNESSEE 05 J\M 16 PH 6»_ 39
WESTERN D|VISiON `

iam 1 i;)i_ 'ri=:oi.io
uNrrED sTATEs oF AMERch, ) i§;?_§§,_i_¢__ §§_¢_.~__ _;§;§;_UCT_S
) W,C\. ()i: ii‘~i, mciint i"ii
Plaintiff, )
)
VS. ) Cl". NO. 0_3___2_0£QM_1
)
DAle HERNANDEZ_ )
)
Defendant. )

 

ORDER

 

Upon motion of the United States, the sentencing hearing in the above-referenced
case is continued untii MO/M/Hj!, JJ/i// /Y , 2005J JLZL q~[’@ 0?'/7]-

iT |S SO ORDERED this ((O day of June, 2005.

wit iii/ii

J P.NicCA|_LA
U .DistrictJudge

 

    

 
 

Jl eph C.i\/iurphy, .
Assistant U.S. Attorney

.\p`\a
\ °°“
n@e" n
c\@ ,
<\t\\e ¢; en l
t@ C,i
xe“&e' ?\X
»(\\`\e GC>C’\'\`“\:\ void 3 \ x
5 t
. a \9
\N\\`(\ ,

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
case 2:03-CR-20094 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

ENNESSEE

 

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
1\/lemphis7 TN 38105

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Carlos PreZ-Olivo

LAW OFFICE OF CARLOS PEREZ-OLIVO
80-02 KeW Gardens Rd

Ste 1040

KeW Gardens, NY 11415

Honorable J on McCalla
US DISTRICT COURT

